        Case 1:09-cr-00298-AWI Document 41 Filed 12/23/09 Page 1 of 2


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, DONALD MONACO
 5
 6                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,   )                   CASE NO. 1:09-CR-00298 OWW
 9                               )
          Plaintiff,             )
10                               )                   APPLICATION FOR SEALING
     v.                          )
11                               )
     DONALD MONACO,              )
12                               )
          Defendant.             )
13   ____________________________)
14         COMES NOW Roger Litman, attorney for defendant DONALD MONACO who
15   applies hereby for an order permitting him to file, under seal, his letter responding
16   to Mr. Monaco’s correspondence to the court dated December 3, 2009.             This
17   request to file under seal is based on the confidential nature of the information
18   contained therein in Mr. Litman’s letter.
19         Therefore, defense counsel respectfully requests that this Court order the
20   within letter be scanned by the Clerk’s Office into the sealed section of the ECF,
21   and the original returned to counsel.
22
     DATED: December 21, 2009             Respectfully submitted,
23
24
                                          /s/ Roger K. Litman
25                                        ROGER K. LITMAN
                                          Attorney for Defendant,
26                                        DONALD MONACO
27
28

                                                 1
        Case 1:09-cr-00298-AWI Document 41 Filed 12/23/09 Page 2 of 2


 1         IT IS HEREBY ORDERED that the letter of Roger K. Litman responding to
 2   Mr. Monaco’s correspondence of December 3, 2009, be filed under seal, and that
 3   the document be scanned by the Clerk’s Office into the sealed section of ECF, and
 4   the original be returned to counsel.
 5
 6
 7   IT IS SO ORDERED.
 8   Dated: December 22, 2009                /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            2
